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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

THE MCDONNEL GROUP, LLC                               CIVIL ACTION NO. 2:18-CV-01380
                                                      c/w 19-2227; 19-2230; 19-10462
VERSUS
                                                      SECTION: “T” (1)
STARR SURPLUS LINES INSURANCE                         (Applies to 19-2227)
COMPANY AND LEXINGTON
INSURANCE COMPANY                                     JUDGE GREG G. GUIDRY

                                                      MAG. JUDGE JANIS VAN MEERVELD

                    MOTION TO SET ASIDE MAGISTRATE ORDER
                          AND OBJECTIONS THERETO

       Bernhard MCC, L.L.C. (“BMCC”), respectfully objects to the Magistrate Judge’s Order

and Reasons granting Insurers’ (Starr Surplus Lines Insurance Company (“Starr”) and Lexington

Insurance Company (“Lexington”) (collectively, “Insurers”)) Motions for Leave to File Amended

Answers to BMCC’s Amended Complaint, which Order is Rec. Doc. 441. For the reasons

specified in the accompanying memorandum in support of this motion, BMCC requests that the

Court set aside the Magistrate’s Order appearing in the Record as Doc. 441.

                                            Respectfully submitted:

                                            RIESS LEMIEUX, LLC

                                            By:    /s/Michael R. C. Riess
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                                                  n/k/a Bernhard MCC, L.L.C.
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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that I electronically filed the foregoing pleading with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record on this 31st day of January, 2020. I also certify that the filing will be served upon

defendants in accordance with the Federal Rules of Civil Procedure.


                                                           /s/Michael R. C. Riess




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